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                                 IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF PUERTO RICO
 ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐x
 In re:                                                                    PROMESA
                                                                           Title III
 THE FINANCIAL OVERSIGHT AND
 MANAGEMENT BOARD FOR PUERTO RICO,
           as representative of                                            No. 17 BK 3283‐LTS
 THE COMMONWEALTH OF PUERTO RICO, et al.,                                  (Jointly Administered)

                              Debtors.1
 ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐x
                    ORDER PURSUANT TO BANKRUPTCY RULES 1007(i) AND
                      2004 AUTHORIZING DISCOVERY AND COMPELLING
                        DISCLOSURE OF LISTS OF SECURITY HOLDERS

                                                      I.    Introduction

           This matter is before the Court on the Urgent Motion of the Financial Oversight and

 Management Board for Puerto Rico for Entry of an Order Under Bankruptcy Rules 1007(i) and

 2004 Authorizing Discovery and Compelling Disclosure of Lists of Security Holders dated April 8,

 2019 (Dkt. No. 6143) (the “2004 Motion”).2 The Court hereby finds and determines that (i) the

 Court has jurisdiction to consider the 2004 Motion and the relief requested therein; (ii) venue is


 1
   The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the
 last four (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i)
 Commonwealth of Puerto Rico (Bankruptcy Case No. 17 BK 3283‐LTS) (Last Four Digits of Federal Tax ID:
 3481); (ii) Puerto Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284‐LTS)
 (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority
 (“HTA”) (Bankruptcy Case No. 17 BK 3567‐LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees
 Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case
 No. 17 BK 3566‐LTS) (Last Four Digits of Federal Tax ID: 9686); and (v) Puerto Rico Electric Power
 Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780‐LTS) (Last Four Digits of Federal Tax ID: 3747)
 (Title III case numbers are listed as Bankruptcy Case numbers due to software limitations).

 2
     Capitalized terms not defined herein shall have the meanings ascribed to them in the 2004 Motion.
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 proper before this Court pursuant to Section 307(a) of PROMESA; and (iii) due and proper

 notice of this 2004 Motion has been provided under the particular circumstances and no other

 or further notice need be provided.

           The Court has carefully considered the arguments made in opposition to the 2004

 Motion by U.S. Bank National Association and U.S. Bank Trust National Association (together,

 “U.S. Bank”) (Dkt. Nos. 6193, 6322), the Bank of New York Mellon (Dkt. Nos. 6194, 6321) and

 Bank of America N.A. (Dkt. Nos. 6195, 6323) (the “Objectors”). The Court takes seriously the

 Objectors’ concerns regarding burden and confidentiality. Nevertheless, the Court finds that

 under Rules 2004 and 1007(i) of the Federal Rules of Bankruptcy Procedure, good cause exists

 for the production of discovery as requested in the 2004 Motion. The Court hereby ALLOWS IN

 PART and DENIES IN PART the 2004 Motion in accordance with the specific rulings set forth

 herein.

                                            II.   Rule 2004

           “Legitimate goals of Rule 2004 examinations include ‘discovering assets, examining

 transactions, and determining whether wrongdoing has occurred.’” In re Wash. Mut., Inc., 408

 B.R. 45, 50 (Bankr. Del. 2009) (citing In re Enron Corp., 281 B.R. 836, 840 (Bankr. S.D.N.Y. 2002)).

 “The purpose of a Rule 2004 examination is to discover the nature and extent of the bankruptcy

 estate in order to distribute the debtor’s assets for the benefit of its creditors.” In re Bibhu LLC,

 2019 WL 171550, at *2 (Bankr. S.D.N.Y. Jan. 10, 2019) (internal citations and quotations

 omitted). The Financial Oversight and Management Board for Puerto Rico (“Oversight Board”),

 acting by and through its Special Claims Committee, is seeking customer information in

 connection with its intent to file avoidance actions in these cases under Title III of the Puerto


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 Rico Oversight, Management, and Economic Stability Act, 48 U.S.C. 2101, et seq. (“PROMESA”).

 Through those actions, the Oversight Board will seek to claw back assets for the estate. (2004

 Motion ¶ 16). The Board seeks the customer information at issue here in order to identify

 defendants in those cases. (Id. ¶ 18). The Oversight Board’s purported use of the sought

 discovery falls well within the scope of Rule 2004, and thus good cause exists to grant the 2004

 Motion.

                                     III.   Specific Objections

        The Objectors raise specific concerns with the requested discovery. The Court will

 address each in turn.

     A. Burden

        The Court first considers the multiple objections based on the burden of an expedited

 production. As an initial matter, this Court recognizes that the Oversight Board could have

 sought this information considerably earlier in these proceedings than it did. Nevertheless, the

 Oversight Board has shown it has engaged in reasonable efforts to obtain the needed customer

 information elsewhere and that cause exists for the production of information on an expedited

 basis given upcoming deadlines in these cases. Further, and as ordered herein, the Oversight

 Board has provided, and shall continue to provide, the Objectors with as much identifying

 information as possible in order to lessen the burden of locating the requested discovery. The

 Court emphasizes that if there is any information in the Oversight Board’s control which it can

 disclose to the Objectors that would aid in the collection of the requested discovery, such

 information must be shared.




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        Objectors, as the financial institutions engaging with their customers, are uniquely

 situated to provide the information needed by the Oversight Board. The Court does not

 minimize the significant burden this order will place on the producing parties, but does

 recognize that allowing this 2004 Motion is the least burdensome way, if not the only way, to

 obtain the needed information. Nevertheless, in order to lessen the burden, as provided

 below, this Court has allowed for rolling productions to occur, and for the production to go

 beyond the original deadlines asked for by the Oversight Board.

     B. Pending Equitable Tolling Motion

        Objectors next ask that this Court not allow the 2004 Motion because the need for

 expedited production may be obviated by the Court’s decision on the Equitable Tolling Motion

 pending before Judge Swain. (See, Dkt. No. 6193 ¶ 10). That motion has not yet been decided

 and thus cannot impact the merits of the Court’s decision here. Absent a definitive ruling on

 that motion, the Oversight Board’s deadlines for avoidance actions are real and create good

 cause for expedited discovery. This order is without prejudice to the parties hereto returning to

 this Court at a later date should the Equitable Tolling Motion be allowed and good cause exist

 for relaxing the production timeline set forth herein.

     C. Need for PBA Bond Information

        U.S. Bank specifically objects to the expedited timeline for producing information

 relevant to the PBA Bonds (See id. ¶ 6 (“U.S. Bank is aware of no statutory deadlines relating to

 PBA, which is not in a Title III proceeding, or any other proceeding, and so it is unclear why the

 Oversight Board requires discovery relating to the PBA Bonds on such an unreasonably tight

 timeframe.”)). As the Oversight Board references in the 2004 Motion, the PBA Bonds are


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 presently being challenged in litigation pending in the Commonwealth Title III case. For

 example, in the Omnibus Conditional Objection of the Ad Hoc Group of General Obligation

 Bondholders to Claims Filed or Asserted by the Public Buildings Authority, Holders of Public

 Buildings Authority Bonds, and Holders of Certain Commonwealth General Obligation Bonds

 (Dkt. No. 6099), the GO Group, as defined therein, moves, conditionally, to:

     disallow[] claims asserted against the Commonwealth of Puerto Rico [] on account of the
     Commonwealth’s obligations under leases with the [PBA] and the Commonwealth’s
     guaranty of bonds issued by the PBA [], or in the alternative, disallowing claims asserted
     against the Commonwealth on account of Commonwealth general obligation bonds and
     PBA Bonds issued beginning fiscal year 2010 insofar as and to the extent that such
     issuances are determined to have violated the Commonwealth’s constitutional debt limit.

 (Id. at 1). To the extent that PBA Bonds are challenged in the course of that motion and other

 litigation in the Commonwealth Title III case such that the Commonwealth could recoup funds

 by filing avoidance actions against PBA bondholders, good cause exists for the production of the

 PBA Bond information. It is the Court’s understanding that any such avoidance actions must

 also be filed by May 2, 2019 such that time is of the essence in the production of PBA

 bondholder information as well as GO bondholder information. If this is not the case, the

 parties may seek to extend the production date for the PBA information.

     D. Confidentiality

        The Court next acknowledges that each of the Objectors raise significant confidentiality

 concerns. The Oversight Board has addressed some of their concerns through proposed

 confidentiality language as expressed in its revised proposed order. (See Dkt. No. 6248, Ex. A).

 Objectors do not raise issue with that language but seek further protection from this Court.

 In their additional requests, Objectors refer broadly to federal, state and foreign confidentiality

 regulations with which they are obligated to comply. (See e.g., Dkt. No. 6194 at 3‐4). Objectors

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 ask this Court to exempt them from obligations under those regulatory frameworks and to

 protect them from any liability that may result from their production. However, not only have

 the Objectors failed to identify which specific regulations are at issue, but they have not even

 attempted to establish that this Court has jurisdiction to relieve them of their compliance

 obligations. This Court is not prepared to do so sua sponte.

           The parties are hereby ordered to meet and confer, and to submit a proposed

 confidentiality agreement, or competing proposals, to the Court on or before April 23, 2019.

 The confidentiality agreement shall be in accordance with the rulings made and guidance given

 herein.

     1. As an initial matter, none of the Objectors have shown that any data privacy regulation,

 whether, state, local, federal or international, precludes the financial institutions from

 providing the requested customer information upon court order. The Oversight Board, on the

 other hand, argues that disclosure of the information of the type requested herein is authorized

 by regulation. (Dkt. No. 6248 ¶ 11 (citing 12 C.F.R. § 1016.15(a) (“The requirements for initial

 notice . . . do not apply when you disclose nonpublic personal information . . . [t]o comply with

 a properly authorized civil, criminal, or regulatory investigation, or subpoena or summons by

 Federal, state, or local authorities; or [to] respond to judicial process or governmental

 regulatory authorities having jurisdiction over you for examination . . . .”))). This Court finds

 that the requested information is relevant under Rule 2004, and must be produced.3 The Court

 does adopt in part the Objectors’ proposal and expressly confirms as follows:


 3
   For the avoidance of doubt, and as represented by the Oversight Board in their reply papers, customer
 social security numbers and account numbers shall not be produced in connection with this order. (See
 id. ¶ 12).

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    To the extent any federal, state or foreign law or other legal authority governing the
    disclosure or use of confidential information, including personal data or non‐public personal
    financial information, permits disclosure of such information pursuant to an order of a
    court, this order shall constitute such a court order.

    2. U.S. Bank has further requested that “any pleadings, motions, objections, and

 oppositions, responses and replies thereto, or any document or paper filed before the Court,

 containing confidential information shall be filed under seal absent other agreement or order of

 the Court, after notice to all relevant parties.” (Dkt. No. 6322 ¶ 6). While the parties’

 confidentiality agreement shall address the filing of confidential information with the Court,

 sealing should be proposed only in very limited circumstances, if at all. Not only does sealing

 keep information from the public, but it imposes an incredible administrative burden on the

 Court. The parties shall explore the option of redacting confidential information as provided for

 by Local Rule 5.2.

    3. U.S. Bank and Bank of America, N.A. have also proposed that this Court order that they

 are relieved of their obligations to obtain a “court‐ordered subpoena,” from having to “notify

 and/or obtain consent from any person or entity prior to the disclosure of Personal Data or

 Non‐Public Financial Information, and/or having to provide a certification that notice has been

 waived for good cause” as may be required by “any United States federal or state law or other

 United States legal authority governing the disclosure or use of Confidential Information,

 including personal data or non‐public personal financial information[.]” (See Dkt. No. 6323 at 3‐

 4). However, as noted above, the Objectors have not identified the regulations at issue or this

 Court’s jurisdiction to enter such an order. This Court expresses no opinion as to the scope of

 the Objectors’ obligations, if any, under any applicable law or regulation. Nothing herein is

 intended to alter the Objectors’ compliance obligations in any way, except to the extent that

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 relevant laws or regulations contemplate exceptions for compliance with court orders. This

 Court does order, however, as requested by the Objectors, that “[a]ny Disclosing Person or

 Receiving Party may seek additional orders from the Court that such Party believes may be

 necessary to comply with any Personal Data or Non‐Party Financial Information Law and/or

 contractual obligation.” (See id. at 4).

    4. Finally, Bank of New York Mellon has requested that the Oversight Board be ordered to

 indemnify it for any claims arising from its compliance with this order. (Dkt. No. 6194 at 3). The

 Court declines to do so. Not only has Bank of New York Mellon failed to establish that it is

 prohibited in any way from producing the information, but, as detailed below, the Court has

 allowed Bank of New York Mellon additional time, as it requested, to produce the information

 and provide whatever notice to customers it feels is necessary.

      E. Cost‐Shifting

        Finally, the Court overrules the Objectors’ requests for cost‐shifting. The Participant

 Holders are uniquely situated to provide the information requested by the Oversight Board,

 which this Court has ruled is relevant to the disposition of these Title III cases. The Oversight

 Board has provided the Participant Holders with information helpful in locating and producing

 the requested information.

        “[W]hen discovery is ordered against a non‐party, the only question before the Court in

 considering whether to shift costs is whether the subpoena imposes significant expense on the

 non‐party.” Legal Voice v. Stormans, Inc., 738 F.3d 1178, 1184 (9th Cir. 2013). Among the

 factors considered by courts in determining whether to shift costs from the non‐party are “(1)

 whether the non‐party has an interest in the outcome of the litigation; (2) whether the non‐


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 party can more readily bear the costs of production than the requesting party; and (3) whether

 the litigation is of public importance.” High Rock Westminster St., LLC v. Bank of Am., N.A.,

 2014 WL 12782611, at *1 (D.R.I. June 17, 2014) (internal citation and quotation omitted).

 “Where the non‐party was . . . substantially involved in the underlying transaction, courts have

 found the non‐party to be interested in the outcome of the litigation.” Id. at *2 (internal

 citation and quotation omitted). Here, the Objectors were purportedly involved in the

 allocation of relevant payments to customers. They are also sophisticated financial institutions

 capable of paying for discovery efforts where necessary. Finally, these Title III cases are of

 public importance to, amongst others, the citizens of Puerto Rico. The Participant Holders shall

 bear the costs of production.

                                       IV.    Specific Rulings

        In accordance with the above, it is hereby ORDERED that:

            1. The 2004 Motion is allowed in part and denied in part as provided herein.

            2. The Oversight Board is authorized to issue the Document Request, attached as

                Exhibit B to the 2004 Motion (Exhibit B to Dkt. No. 6143) to the Participant

                Holders identified at Appendix 2 to Exhibit B to the 2004 Motion, as such

                appendix may be supplemented or amended upon receipt of information

                sufficient to identify Participant Holders of the Challenged Bond series identified

                at Appendix 3 to Exhibit B.

            3. The Oversight Board shall promptly make available, upon request by any

                Participant Holder, an electronic document listing the Challenged GO Bonds, the

                CUSIP of each such Challenged GO Bonds, and the dates upon which payments


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             are thought to have been made by the Commonwealth to purported holders of

             such Challenged GO Bonds based upon publicly available documents.

          4. The Oversight Board shall promptly provide any additional information relating

             to the GO, ERS, and PBA Bonds it has obtained from any source to help the

             Objectors locate the requested information.

          5. The parties shall meet and confer regarding the creation of an appropriate

             confidentiality agreement to govern the produced data, taking into account the

             guidance provided above. The parties shall submit such proposal, or competing

             proposals to the Court, on or before April 23, 2019. The Court will then take the

             proposals on submission.

          6. The Participant Holders shall respond to the Document Request as follows:

                 a. As pertaining to the Challenged GO Bonds and PBA Bonds, no later than

                    April 25, 2019. For good cause shown, if the Participant Holders are

                    unable to complete their production by April 25, 2019, they may continue

                    to produce documents up to and until April 30, 2019. Documents shall

                    be produced on a rolling basis within these periods to the extent

                    possible.

                 b. As pertaining to ERS Bonds, not later than May 8, 2019. Documents shall

                    be produced on a rolling basis to the extent possible.

          7. The terms and conditions of this order shall be immediately effective and

             enforceable upon its entry.




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        This order resolves Dkt. No. 6143.

        SO ORDERED.

                                                  / s / Judith Gail Dein
                                                  Judith Gail Dein
                                                  United States Magistrate Judge
 DATED: April 18, 2019




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